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                                THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,

                          Plaintiff,
                                                              Civil Action No. 2:17-cv-192
                   v.
                                                            JURY TRIAL DEMANDED
CANON U.S.A., INC.,

                          Defendant.


                         MOTION FOR ENTRY OF PROTECTIVE ORDER

             Plaintiff Display Technologies, LLC (“Display”) files this Motion for Entry of Protective

       Order on behalf of itself and defendant Canon U.S.A, Inc. (“Canon”). The proposed order is

       attached hereto as Exhibit A. There is no dispute over the contents of the proposed order

       between Display and Canon.

       Dated: August 15, 2017                          Respectfully submitted,


                                                       /s/ Thomas C. Wright
                                                       Thomas C. Wright
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                                                       Alex J. Whitman
                                                       Texas State Bar No. 24081210
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                                   CERTIFICATE OF CONFERENCE

        The parties have conferred regarding the contents of the proposed Protective Order. The
parties are in agreement on the terms set forth in the order.

                                                         /s/ Thomas C. Wright
                                                         Thomas C. Wright




                                      CERTIFICATE OF SERVICE

               I hereby certify that all counsel of record who have consented to electronic service are
       being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
       5(a)(3) on this 15th day of August 15, 2017.

                                                        /s/ Thomas C. Wright
                                                        Thomas C. Wright
